Case 2:16-cv-06577-SRC-CLW Document 231 Filed 03/29/21 Page 1 of 1 PageID: 2853




    Stephanie R. Feingold
    Partner
    +1.609.919.6643
    stephanie.feingold@morganlewis.com



    March 29, 2021


    VIA ECF

    Hon. Cathy Waldor, U.S.M.J.
    United States District Court
    Martin Luther King Building & U.S. Courthouse
    50 Walnut Street
    Newark, NJ 07101

    Re:      BRG Harrison Lofts Urban Renewal LLC v. General Electric Co., et al.
             Docket No. 2:16-cv-06577

    Dear Judge Waldor:

    We represent Third-Party Defendant Arizona Instrument LLC (n/k/a AMETEK Arizona Instrument
    LLC) in the above-referenced matter. We write in connection with the settlement conference
    scheduled for March 31, 2021 (Dkt. 216).

    Due to pre-existing commitments, the Arizona Instrument representative with settlement authority
    respectfully requests permission to be “on call” and available to call into the settlement conference
    (via the Zoom link, or telephone, at the Court’s preference) on an as-needed basis. I will be
    attending the conference via Zoom for its entirety and will be able to reach out to the Arizona
    Instrument representative as necessary as discussions proceed.

    Thank you for your attention to this matter.

    Respectfully submitted,

    /s/ Stephanie R. Feingold

    Stephanie R. Feingold

    SRF




    DB1/ 120187583.1




                                                       Morgan, Lewis & Bockius                LLP

                                                       502 Carnegie Center
                                                       Princeton, NJ 08540-6241                          +1.609.919.6600
                                                       United States                                     +1.609.919.6701

                                                       A Pennsylvania Limited Liability Partnership | Steven M. Cohen, Partner-in-Charge
